SCHERMERHORN OIL CORPORATION, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.  SCHERMERHORN-WINTON COMPANY, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.  CHARLES WELDON TOMLINSON, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Schermerhorn Oil Corp. v. CommissionerDocket Nos. 103049, 104204, 100663.United States Board of Tax Appeals46 B.T.A. 151; 1942 BTA LEXIS 902; January 23, 1942, Promulgated *902  1.  Employment contracts between oil companies and a commercial gelogist provided generally that the geologist should devote his time and skill to exploring possible oil developments, for which he was to be paid a salary and expenses.  The companies were to be the sole judges as to the acquisition of properties; but if any were acquired upon the recommendation of the gelogist he was to be paid, in addition to his salary, 10 percent of the net profits resulting from the sale of oil produced upon any such property after the companies had reimbursed themselves for the expenses incurred in acquiring and developing it.  During the taxable years substantial amounts were paid to the geologist or his assignees out of the net profits.  Held that the payments were capital expenditures, recoverable through depletion as a part of the cost of the properties.  2.  The geologist, in 1936, assigned to his wife all of the rights, titles and benefits that might thereafter accrue to him as to certain properties.  In 1937 the oil companies paid her the 10 percent of the net profits from these properties.  Held, that the amount so paid must be included in the geologist's gross income for 1937. *903 George H. Abbott, C.P.A., and L. Karlton Mosteller, Esq., for the Schermerhorn Oil Corporation and Schermerhorn-Winton Co., petitioners.  Ezra Dyer, Esq., for Charles Weldon Tomlinson, petitioner.  John E. Marshall, Esq., for the respondent.  MELLOTT*152  The respondent determined deficiencies in income tax of the petitioners as follows: Docket No.PetitionerYearAmount1935$633.761936767.89103049Schermerhorn Oil Corporation1937827.5619361,373.64104204Schermerhorn-Winton Company19373,150.47100663Charles Weldon Tomlinson1937569.49The issue involve payments made by the corporations to a geologist - Tomlinson - or to his assigns.  The payments were 10 percent of the net profits realized from the sale of gas or oil produced from property acquired upon Tomlinson's recommendation.  The Commissioner determined that the payments were capital expenditures.  The corporations contend: (a) They were not capital expenditures; (b) in the alternative, they were merely transferred by the companies to Tomlinson and never became either income or expenses to the corporations; (c) *904  further in the alternative, they were either: (1) ordinary and necessary business expenses in the nature of depletion and separately deductible as such; (2) general overhead expenses, allocable to all of the corporations' oil producing properties and deductible from gross income; or (3) direct overhead expenses, allocable to each particular oil property and deductible in computing the income produced by such property.  The aggregate of the payments made in 1937 by the corporations to Tomlinson's wife, as assignee, was included by the Commissioner in his gross income.  Tomlinson contends that this was erroneous.  The proceedings were consolidated for hearing.  Most of the basic facts were stipulated, included in documents received in evidence without objection, or admitted in the pleadings.  We find the facts to be as stipulated whether set out in our findings or not.  FINDINGS OF FACT.  The Schermerhorn Oil Corporation is a corporation organized under the laws of the State of Minnesota, with principal office at Minneapolis, Minnesota.  Its income tax returns for the years 1935, 1936, and 1937 were filed with the collector of internal revenue for the district of Minnesota.  *905  The Schermerhorn-Winton Co. is also a Minnesota corporation, its principal office being located at Tulsa, Oklahoma.  Its income tax returns for the years 1936 and 1937 were filed with the collector of internal revenue for the district of Oklahoma.  Charles Weldon Tomlinson, hereinafter referred to as Tomlinson, is a resident of Ardmore, Oklahoma.  His individual income tax *153  return for 1937 - his wife filing a separate return and claiming the personal exemptions and credits - was filed with the collector of internal revenue for the district of Oklahoma and the tax shown to be due thereon was paid.  On May 25, 1921, a written agreement was entered into between J. B. Schermerhorn, oil producer, and Tomlinson, commercial geologist.  The agreement was for a period of one year, renewable at the option of either party and automatically renewable in the absence of a written notice to discontinue.  It provided that Schermerhorn should pay Tomlinson an annual salary of $7,500 for a period of one year beginning June 1, 1921, payable in equal monthly installments; that in addition to this salary Tomlinson should be paid all expenses prudently incurred by him in and about the performance*906  of services for Schermerhorn while traveling and away from home; and that whenever any property was acquired by Schermerhorn upon Tomlinson's recommendation, the latter should receive 10 percent of the net profits derived by Schermerhorn and his associates from the sale of such property at a profit, after deducting the original cost and all other expenses incident to the purchase and sale, and the same percentage of the net profits resulting from the sale of oil produced on any such property held and developed by Schermerhorn, after the latter had reimbursed himself from profits on the first oil sold for all expenses incurred in acquiring and developing such property, and after the deduction of royalties and operating expenses.  The agreement further provided that all operations should be under the exclusive control of Schermerhorn and subject only to his honest judgment and discretion.  Tomlinson agreed to devote his entire time and all of his expert knowledge and skill as a geologist to the exclusive service of Schermerhorn, and that the latter should be the sole judge as to the acquisition of any properties.  Schermerhorn in his discretion, could refuse to accept, acquire, or develop*907  any property recommended by Tomlinson.  In the agreement Tomlinson also agreed as follows: To make his home and place of abode during the continuance of this Agreement in Ardmore, Oklahoma, or elsewhere in the United States or Canada as requested by the First Party; in addition to his other duties hereinabove specified, to act as said First Party's representative there when and as requested in any matter connected with said First Party's oil business, and particularly in watching new developments in oil production at places pointed out (from time to time) by said First Party, and in promptly examining areas adjacent to or in such fields when there are favorable developments, and in acquiring options for said First Party upon desirable acreage therein or thereabouts; it being agreed and understood that the words, "adjacent to or in such fields" and "therein or thereabout" refer to areas or acreage within three miles only of producing oil and gas wells; it being understood that the salary (and *154  expenses) hereinabove provided for shall constitute the principal compensation of said Second Party for said last mentioned services.  * * * * * * PROVIDED also that in acting*908  as such representative, the said Second Party shall have no general power to bind or obligate said First Party under contracts or agreements with third parties, but only as specifically authorized from time to time in each case.  * * * 2.  That each property hereafter acquired by said First Party, under the conditions (as provided in this Agreement) entitling said Second Party to participation in the net profits of sale or development thereof, shall be taken and considered as entirely separate, distinct and apart from any other property whatsoever; and shall not be involved or drawn into any controversy or dispute which may arise between the parties hereto in reference to any other property.  3.  That this Agreement shall not be specifically enforceable in equity by either party; nor shall any injunction be applied for or issued at the instigation of either party in case of dispute or alleged breach of this Agreement, but the injured party shall have only his right of action for full damages at law.  * * * That this Agreement shall not be assignable without the consent of both parties thereto; but this provision shall not prevent either party from selling, assigning or transferring*909  his pecuniary interest in any specific property acquired pursuant to this Agreement.  Oil and gas leases known as the Holman, Watkins, Palmer, Dickerson, and McGill leases, all located in Carter County, Oklahoma, were acquired upon the recommendation of Tomlinson under the agreement of May 25, 1921.  On May 14, 1925, Schermerhorn-Ardmore Co. and Tomlinson entered into an agreement under the terms of which the latter was to devote his entire time to the interests of the corporation, for which he was to receive a salary of $8,400 per year and 10 percent of the net profits derived by the corporation from any property recommended by Tomlinson and thereafter developed by the company into oil producing properties or thereafter sold at a profit.  The provisions contained in this agreement differed in no material respect from the provisions of the 1921 contract.  The services which petitioner was to render to the corporation were similar to those which he had previously agreed to render to Schermerhorn and the corporation assumed the obligation of Schermerhorn to make payment of the proportion of the net profits which Tomlinson was entitled to receive under the 1921 contract.  Either party*910  could terminate the agreement on the 31st day of May, in any year, by giving 30 days' notice on writing to the other, and in the event no such notice was given within 30 days before the termination of any annual period, the parties agreed that it should be deemed to be renewed for an additional period of one year.  Oil and gas leases located in Carter County, Oklahoma, Known as the Cruce, Calvery, Lyles, Lyles-Roxana, Morris-Luster, Crockett, *155  and Smith leases, and one located in Stephens County, Oklahoma, known as the Shields lease, were acquired upon the recommendation of Tomlinson under the agreement of May 14, 1925.  In 1930 Tomlinson relinquished three-tenths of his interest in the profits of the Smith lease to S. W. Hamner, the superintendent in charge, as a stimulus to his efficient operation of the property.  Supplemental agreements dated January 25, 1927, June 9, 1928, and February 3, 1930, were executed between the Schermerhorn-Ardmore Co. and Tomlinson, in which the former acknowledged its liability to pay Tomlinson a percentage of the net profits from the operation or sale, or operation and sale, of the oil and gas leases heretofore mentioned as having*911  been acquired under either the agreements of May 25, 1921, or May 14, 1925, with the exception of the McGill lease, and agreed that each of the properties mentioned in these supplemental agreements would be treated as a separate account.  On January 25, 1927, a similar supplemental agreement was entered into between the Schermerhorn Oil Co. and Tomlinson with respect to the McGill lease.  Each supplemental agreement, with the exception of the agreement of February 3, 1930, stated that Tomlinson was entitled to receive 10 percent of the net profits.  The February 3, 1930, agreement, which related to the Smith lease, stated that Tomlinson had voluntarily relinquished three-tenths of his interest in the profits from this property to S. W. Hamner, and that he was therefore entitled to receive 7 percent of the net profits.  In addition to the oil and gas leases hereinbefore mentioned, two other oil and gas leases, known as the Sparks lease and the Rickets lease, were acquired, but no supplemental agreements were entered into with respect to these two leases.  On May 22, 1933, a new agreement was entered into between Schermerhorn-Ardmore Co. and Tomlinson.  Tomlinson's employment under*912  this agreement was to begin June 1, 1933, and continue until terminated by either party.  He was to devote as much time as might be proper to the work of the corporation, but reserved the right to devote the balance of his time to his own interests.  The corporation agreed to pay Tomlinson a salary of $415 per month, traveling and other expenses incurred while away from home, and also an amount equal to 10 percent of the net profits derived by it from the operation and/or sale of any and all property or properties acquired by it upon his recommendation.  The agreement provided that it was intended to supersede any and all prior contracts of employment between the parties; but its terms and provisions were not to apply to any properties acquired by the corporation upon recommendation of Tomlinson prior to June 1, 1933.  The rights of the parties in any property acquired prior to that date were to be determined and controlled by the terms and provisions of the contract or contracts *156  then in force.  No properties were acquired by the Schermerhorn-Ardmore Co. under the agreement of May 22, 1933.  Prior to June 1, 1934, Schermerhorn Oil Corporation acquired the rights and interests*913  and assumed the obligations and liabilities of J. B Schermerhorn, Schermerhorn-Ardmore Co. and Schermerhorn Oil Co. under the foregoing agreements and since that date it has continued to own such rights and interests, to perform all obligations, and to discharge all liabilities thereunder.  Petitioner performed no services for the Schermerhorn Oil Corporation subsequent to March 1936.  On December 31, 1936, Tomlinson assigned to his wife, Maude R. Tomlinson, "all of the rights, title and benefits that may hereafter accrue" to him under the aforementioned agreements with respect to certain of the leases or properties acquired pursuant thereto.  In accordance with the agreements, relinquishment to Hamner and assignment to Maude R. Tomlinson, the oil corporation during the calendar years 1935, 1936, and 1937 made payments to Tomlinson, Hamner, and Maude R. Tomlinson of a part of the net profits realized from the sale of oil and gas produced from the properties hereinbefore mentioned as follows: Calendar Year 1935C. W. Tominson$6,235.80Total net payments for calendar year 19356,235.80Calendar Year 1936C. W. Tomlinson$7,041.32S. W. Hamner33.55Total net payments for calendar year 19367,074.87Calendar Year 1937Maude R. Tomlinson$7,882.21S. W. Hamner589.92Subtotal8,472.13Less: Overpayment made in calendar year 1936 (included in amount paid C. W. Tomlinson in the sum of $7,041.32 as set forth under calendar year 1936 above)321.48Total net payments for calendar year 19378,150.65*914  At the time of the assignment to her on December 31, 1936, Maude R. Tomlinson assumed one-half of her husband's current indebtedness as of that date and has applied a part of the payments made to her to one-half of his current indebtedness.  Maude R. Tomlinson included the payment of $7,882.21 as a part of her gross income in her Federal income tax return for 1937.  The respondent determined that it constituted a part of her husband's income for that year.  *157  The respondent treated the payments made by the Schermerhorn Oil Corporation to the Tomlinsons and Hamner as a part of the gross income of the Schermerhorn Oil Corporation and allowed that corporation.  a deduction equal to the full amount of the payments as cost depletion.  On September 7, 1927, Schermerhorn-Winton Co., an affiliate of Schermerhorn-Ardmore Co., entered into an agreement with Tomlinson wherein it acknowledged the acquisition of the Kloh lease and Phillips royalty upon his recommendation under the agreement of May 14, 1925, and that he was entitled to receive 10 percent of the net profits from the operation or sale of these properties.  During the years 1936 and 1937 the Schermerhorn-Winton*915  Co. payments to Tomlinson of 10 percent of the net profits from the sale of oil and gas produced from the Kloh lease and Phillips royalty, were as follows: 1936, $9,786.35; and 1937, $6,556.03.  The respondent treated these payments as a part of the gross income of the Schermerhorn-Winton Co., and allowed this company a deduction equal to the full amount of the payments as cost depletion.  OPINION.  MELLOTT: Under the applicable provisions of the Revenue Acts of 1934 and 1936, the Schermerhorn Oil Corporation and the Schermerhorn-Winton Co., hereinafter sometimes referred to as the Schermerhorn companies, are allowed deductions for depletion of oil and gas properties either: (a) on the basis of 27 1/2 percent of the gross income from such properties not exceeding 50 percent of the net income; or (b) on the basis of cost, whichever is greater.  Secs. 23(m) and 114(b)(1) and (3), Revenue Acts of 1934 and 1936. 1*916 *158  In their income tax returns for the taxable years the Schermerhorn companies deducted, in computing net income for those years, allowances for depletion on each of the oil and gas leases acquired upon the recommendation of Tomlinson.  In some instances the amount deducted was based upon a percentage of the gross income and in others upon cost.  The corporations also deducted as general expenses, and in one instance (the return of the Schermerhorn Oil Corporation for 1937) excluded from income, the payments made to Tomlinson and his assigns during the taxable years.  Respondent disallowed the claimed expense deductions and exclusions from gross income and determined that the payments should have been capitalized.  This resulted in increasing the corporations' respective gross incomes but allowed them larger cost bases for the purpose of computing depletion based upon cost under the statutes referred to above.  Petitioners' alternative contention ((b) as set out in the statement of the issues) may be considered first.  It is that 10 percent of the gross income and 10 percent of all expenses from the oil and gas producing properties acquired upon the recommendation of*917  Tomlinson should be excluded in computing the net taxable incomes of the Schermerhorn companies.  They argue that the payments were simply transferred by the corporations to the rightful owners without any effect upon the capital or income of the corporations (which will be considered more fully in connection with the discussion of (a), i.e., whether they were capital transactions), since the agreements between them and him constituted a joint venture and since, regardless of how the contracts may be construed, Tomlinson had, with respect to each property, "a right in the nature of a thing in action * * * from the moment such properties were acquired." They insist, in other words, that Tomlinson or his assigns held a 10 percent economic interest in the properties.  Petitioners' contention that a joint venture existed is not sound.  An agreement to share profits is not of itself sufficient to create the relationship.  "There must be some additional fact such as control over or proprietary interest in the subject matter involved or a share in the risks and burdens incident to the transaction or transactions to be carried forward, showing that the parties intended the relationship. *918  " Alfred M. Bedell,9 B.T.A. 270"&gt;9 B.T.A. 270; affd., 30 Fed.(2d) 622. Each joint adventurer must have some voice and right to be heard in the control and management of the joint venture.  Hughes v. Baker,169 Okla. 320"&gt;169 Okla. 320, 327; 35 Pac.(2d) 926. The agreements between Tomlinson and the companies provided that he should have voice in determining whether properties recommended by him should be purchased, sold or abandoned or in the operation or management *159  of such properties.  He could not bind or obligate the Schermerhorn companies under any contract with third parties, except when authorized in writing to do so, nor could the companies bind him or his portion of the net profits.  There was no provision in the agreements that he should have an interest in any oil or gas lease, as in Shoemake v. Davis,146 Kan. 909"&gt;146 Kan. 909; 73 Pac.(2d) 1043, cited and relied upon by petitioners.  He was given merely an interest in the net profits of leases recommended by him, and acquired, operated, and developed by the Schermerhorn companies.  Neither of the companies ever caused a partnership return to be filed, treating*919  Tomlinson as a joint adventurer, nor did he ever cause any such return to be filed.  (Secs. 187 and 801(a)(3), Revenue Act of 1934.) Evidence of an intention to create a joint venture is entirely lacking and in our opinion no such relationship was in fact created.  Petitioners' contention that Tomlinson had, with respect to each property acquired under the agreements, a right in the nature of a "thing in action", is based primarily upon the Oklahoma statutes. 2 They argue that it was personal property, the ownership becoming "completely fixed in all respects with reference to a particular property the moment such property was acquired under the agreements"; that, being personal property, the income derived from it was his, rather than the corporations'; and that the provisions of the contract under which the corporations retained exclusive control over the property and its development were "no more than a mere carving out of the parts of the whole which constitute the separate properties of each * * *." The same thought is expressed in a query contained in their brief on this phase: "What do the Schermerhorn companies acquire when they transfer that which is produced by property*920  which is owned by Tomlinson or his assigns?" The statutes upon which petitioners rely are of slight, if any, aid to them.  They seem to do no more than provide for assignment and survivorship of a chose in action.  If considered as an attempt by the state to classify such a right as Tomlinson had under the agreements they are not applicable; for until a dispute arose or a breach occurred, neither of which has been shown, no "right to recover money or other personal property by judicial proceedings" arose.  As we view the facts.  Tomlinson had a mere contractual right to a percentage of the net profits produced by certain leases.  This was a right to receive income if and when realized; but he had no economic *160  interest in*921  the property producing the income.  The property was "acquired by First Party" - the oil corporation - and Tomlinson, under the contract, was merely its "representative." In other words the contract was a contract of employment or limited agency and the net profits were paid for services rendered.  Petitioners' further alternative contentions (issues (c)(1), (2), and (3)) may be considered next.  They have been set out above in substantially the language used by petitioners upon brief.  Epitomizing the contentions and the arguments made in support of them, petitioners claim they are entitled to deduct from gross income 100 percent of the amounts paid to Tomlinson in addition to deducting depletion based upon the cost of the properties or 27 1/2 percent of the gross income.  They contend that such was the method approved by this Board in North American Oil Consolidated,12 B.T.A. 68"&gt;12 B.T.A. 68 (reversed upon other issues, 50 Fed.(2d) 752; 286 U.S. 417"&gt;286 U.S. 417). In that case the petitioner had agreed to pay its attorneys 4 percent of the oil, gas, and other minerals produced from certain property in the event the attorneys were successful in accomplishing a*922  satisfactory termination of court and land office proceedings relating to the property.  The proceedings were successfully terminated.  It was held that the payments to the attorneys were capital expenditures and that depletion was allowable in respect of such amounts.  They were not held to be deductible either as ordinary and necessary business expenses, general overhead expenses, or direct overhead expenses.  It was stated: * * * The solution that seems to us will produce a proper result is to allow as depletion in each year an amount equal to the 4 percent paid to the attorneys.  By this method, when eventually production ceases, the petitioner will have returned to it through the depletion allowances exactly the amount of its capital expenditure and the depletion deduction each year will be reasonable.  Petitioners' interpretation of the decision, that it allowed the deduction in the year in which the payments were made, either as ordinary and necessary business expenses in the nature of a depletion deduction or as an item of general or direct overhead expense, is erroneous.  In addition, it may be pointed out that the tax years involved in the cited case were 1917, 19188*923  and 1919 and the revenue acts relating to those years contained no alternative provision for percentage depletion such as is now contained in section 114(b)(3), supra. Petitioners are entitled, under the above statute, to a depletion allowance based either upon cost or upon 27 1/2 percent of the gross income from the property, whichever is greater.  It is obvious that, it petitioners should be permitted to deduct from the gross income of the property the 10 percent of the net profits paid to Tomlinson and also 27 1/2 percent of the gross income from the property, *161  they would thus secure a double deduction for depletion. 3 No double deduction for depletion was ever contemplated by the statute.  *924  The principal issue is whether the Commissioner committed any error in treating the payments to Tolmlinson as capital expenditures.  As pointed out above, the North American Oil Consolidated case, supra, treated comparable expenditures as capital expenditures.  This, we think, was proper.  It has been pointed out that the contracts between Tomlinson and the oil companies were either contracts of employment or of limited agency.  Under them the companies were permitted to acquire oil and gas leases, explored by Tomlinson, in consideration of the payment to him of a salary and drawing account and in consideration of the additional payment to him of 10 percent of the net profits from the property after deducting the original cost or after the companies had reimbursed themselves from the profits on the first oil sold for all of the expenses incurred in acquiring and developing the property.  The obligation to make the additional payments to Tomlinson was just as much a part of the cost of acquiring the leases as the consideration which the companies agreed to pay to the lessors.  It arose when the properties were acquired, the time of payment being postponed until net profits*925  should be realized.  If the companies had convenanted to pay Tomlinson certain lump sums at the time of the acquisition of each property, it would perhaps be more obvious that such payments were made in connection with the acquisition of a capital asset; but there is no substantial distinction between such payments and those which the corporations covenanted to make.  As we view them they are somewhat analogous to commissions paid in connection with the purchase of property, expenditures *162  made for surveys, abstracts of title, or geological opinions, and amounts paid in defending or perfecting title to real estate, all of which have been held to be capital expenditures.  Helvering v. Winmill,305 U.S. 79"&gt;305 U.S. 79; Seletha O. Thompson,9 B.T.A. 1342"&gt;9 B.T.A. 1342; Moynier v. Welch, 97 Fed.(2d) 471. The mere postponement of payment until the realization of net profits does not change the nature of the expenditures, nor is it material that the payments made in the later year do not add to the property interest previously acquired.  The test is whether the expenditures are made in connection with the acquisition or preservation of a capital*926  asset.  If so, they are capital expenditures.  Applying this test we think that the payments in issue were made in connection with the acquisition by the Schermerhorn companies of the properties from which the net profits were realized.  We are therefore of the opinion and hold that the respondent properly treated them as capital expenditures.  The conclusion which has been reached accords with the view recently expressed by the Board in Quintana Petroleum Co.,44 B.T.A. 624"&gt;44 B.T.A. 624 (promulgated June 3, 1941, later reviewed by the Board and adopted November 11, 1941).  In that proceeding petitioner, like the oil corporations before us, was under obligation to account to the Gulf Production Corporation for a portion (one-fourth) of the net proceeds from the operation of leased property.  The total production of oil from the lease during 1937 was $46,895.65.  In its income tax return for that year petitioner claimed and was allowed percentage depletion of $12,896.30, representing 27 1/2 percent of its gross income from the property.  In addition it claimed a deduction of $7,142.28, being the amount paid out in its agreement with the Gulf Production Co.  It was held that the*927  payment constituted part of the consideration paid for the lease, was a capital expenditure and not an expense payment.  The issue in Docket No. 100663 involves $7,882.21, this amount being 10 percent of the net profits realized in 1937 from leases and properties acquired by the Schermerhorn Oil Corporation upon Tomlinson's recommendation.  It was paid to Tomlinson's wife and included in her gross income in the separate return which she filed.  The Commissioner determined: "that the principles enunciated in Lucas v. Earl,281 U.S. 111"&gt;281 U.S. 111; Van Meter v. Commissioner, 61 Fed.(2d) 817, and Gerald A. Eubank,39 B.T.A. 583"&gt;39 B.T.A. 583 govern." He accordingly added the amount to the net income shown in Tomlinson's return, made other adjustments not now in issue, and determined the deficiency in tax.  Petitioner Tomlinson contends "that the interests acquired by him under his contracts of employment in the particular properties were vested interests in the property"; that the contract right to receive the profits was a vested property right, assignable by him; that the *163  income was derived by his wife from the property interest conveyed*928  to her: and that the respondent erred in including it in his income.  Since the deficiency in issue was determined the Supreme Court has affirmed the holding of the Board in Gerald A. Eubank, supra(Helvering v. Eubank,311 U.S. 122"&gt;311 U.S. 122); decided Helvering v. Horst,311 U.S. 112"&gt;311 U.S. 112; reexamined its decisions in Blair v. Commissioner,300 U.S. 5"&gt;300 U.S. 5, and the line of cases stemming from Lucas v. Earl, supra; and said: The power to dispose of income is the equivalent of ownership of it.  The exercise of that power to procure the payment of income to another is the enjoyment and hence the realization of the income by him who exercises it.  (Helvering v. Horst, supra.)It is true that the owner of a legal or equitable interest in property may assign it and "the one who is to receive the income as the owner of the beneficial interest is to pay the tax." Blair v. Commissioner, supra. If the "interests acquired by petitioner under his contracts of employment * * * were vested interests in the particular properties" they would be assignable and the*929  income would be taxable to the assignee.  We do not believe, however, that petitioner had, or that he attempted to assign to his wife, a vested property right.  As pointed out above the contracts between him and the oil companies were contracts of employment or limited agency and an agreed percentage of the net profits was to be, and was, paid for services rendered.  The payments were not unlike those made to Eubank and his wife (Gerald A. Eubank, supra).Nor does the fact that the contracts of employment permitted Tomlinson to sell, assign, or transfer "his pecuniary interest in any specific property acquired pursuant to" the contracts of employment have the effect of making his "pecuniary interest" a vested property right.  Having rendered services which resulted in the development by the oil companies of properties which were being operated at a net profit, he undoubtedly had a pecuniary interest which could be assigned; but it was still compensation for services which he had rendered and hence, as we view it, governed by the principle of *930 Lucas v. Earl, supra, and kindred cases.  We therefore hold that the Commissioner did not err in including it in Tomlinson's income.  Tomlinson makes the alternative contention that if it should be held he is subject to tax upon the income of $7,882.21, then he should be allowed a depletion deduction with respect to this income and also with respect to income received by him in 1937 in connection with the Kloh lease and the Phillips royalty.  We do not agree.  A deduction for depletion is allowable only to the individual or corporation having a capital investment in the oil and gas in place.  Tomlinson had no such investment.  Under his contracts he was entitled to receive 10 percent of the net profits from certain leases *164  and properties acquired upon his recommendation.  In Anderson v. Helvering,310 U.S. 404"&gt;310 U.S. 404, the Supreme Court said: * * * A share in the net profits derived from development and operation, * * * does not entitle the holder of such interest to a depletion allowance even though continued production is essential to the realization of such profits.  *931 Helvering v. O'Donnell,303 U.S. 370"&gt;303 U.S. 370; Helvering v. Elbe Oil Co.,303 U.S. 372"&gt;303 U.S. 372. Respondent did not err in refusing to allow the claimed depletion.  Decision in each docket will be entered under Rule 50.Footnotes1. SEC. 23.  DEDUCTIONS FROM GROSS INCOME.  In computing net income there shall be allowed as deductions: * * * (m) DEPLETION. - In the case of mines, oil and gas wells, other natural deposits, and timber, a reasonable allowance for depletion and for depreciation of improvements, according to the peculiar conditions in each case; such reasonable allowance in all cases to be made under rules and regulations to be prescribed by the Commissioner, with the approval of the Secretary.  * * * SEC. 114.  BASIS FOR DEPRECIATION AND DEPLETION.  * * * (b) BASIS FOR DEPLETION. - (1) GENERAL RULE. - The basis upon which depletion is to be allowed in respect of any property shall be the adjusted basis provided in section 113(b) for the purpose of determining the gain upon the sale or other disposition of such property, except as provided in paragraphs (2), (3), and (4) of this subsection.  * * * (3) PERCENTAGE DEPLETION FOR OIL AND GAS WELLS. - In the case of oil and gas wells the allowance for depletion under section 23(m) shall be 27 1/2 per centum of the gross income from the property during the taxable year, excluding from such gross income an amount equal to any rents or royalties paid or incurred by the taxpayer in respect of the property.  Such allowance shall not exceed 50 per centum of the net income of the taxpayer (computed without allowance for depletion) from the property, except that in no case shall the depletion allowance under section 23(m) be less than it would be if computed without reference to this paragraph. ↩2. A thing in action is a right to recover money or other personal property, by judicial proceedings.  (60 Okla.St.Ann. 312.) A thing in action, arising out of the violation of a right of property, or out of an obligation, may be transferred by the owner.  Upon the death of the owner, it passes to his personal representatives, except where, in the case provided by law, it passes to his devisees or successors in office.  (60 Okla.St.Ann. 313↩.) 3. Respondent incorporates in his brief a computation of net income based upon an assumed gross income from a leasehold costing $100,000 with an expected recoverable oil reserve of 1,000,000 barrels and a net production for the year of 100,000 barrels.  Column 1 seems to be as petitioners would compute it while Column 2 indicates respondent's method of computation.  Col. 1Col. 2↩Gross Income$100,000$100,000Deductions, including ordinary overhead, operating expenses and depreciation10,00010,000Net income before Depletion90,00090,00050% of Net Income$45,000$45,00027 1/2% of Gross Income27,50027,500Cost Depletion to be considered in applying the limitation provisions of sec. 114(b)(3):(a) Computed on leasehold cost10,00010,000(b) Computed on Capitalized Net ProfitsNone9,00010,00019,000Allowable Depletion under Sec. 114(b)(3)27,50027,500Additional Depletion (Issue (c)(1))9,000NoneTotal allowable depletion36,50027,500Net Taxable Income53,50062,500